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  1   Sean A. O’Keefe – SBN 122417
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  6   Special Litigation Counsel to the Debtors

  7
                               UNITED STATES BANKRUPTCY COURT
  8
                                   CENTRAL DISTRICT OF CALIFORNIA
  9
                                        LOS ANGELES DIVISION
 10

 11    In re
                                                   Adversary No. 2:20-ap-01017-WB
 12    SCOOBEEZ, INC., et al.
                                                   Lead Case No. 2:19-bk-14989-WB
 13                  Debtors and Debtors in
                     Possession.                   Chapter 11
 14
       Affects:                                    (Jointly Administered with
 15                                                Case Nos. 2:19-bk-14991; 2:19-bk-14997)
 16       All Debtors
        X SCOOBEEZ, INC., only
        X SCOOBEEZ GLOBAL, INC. only               MOTION FOR SUMMARY JUDGMENT
 17                                                ON FIRST AND SECOND CLAIMS FOR
          SCOOBUR, LLC only
                                                   RELIEF AND FOR INJUNCTIVE
 18                                                RELIEF
 19
 20
       SCOOBEEZ, INC., a California corporation,   Date: April 28, 2020
 21    and SCOOBEEZ GLOBAL, INC., an Idaho         Time: 2:00 p.m.
       corporation,                                Place: Courtroom 1375
 22                                                Edward R. Roybal Federal Building and
                     Plaintiffs,                   Courthouse
 23                                                255 E. Temple Street
       v.                                          Los Angeles, CA 90012
 24
 25    SHAHAN OHANESSIAN, SHOUSHANA
       OHANESSIAN AND GREGORI
 26    SEDRAKYAN

 27                  Defendants

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  1          Scoobeez Global (“Global”) and Scoobeez, Inc. (“Scoobeez”) (together the “Debtors”)
  2   hereby move this Court, pursuant to Federal Rule of Civil Procedure 56, for an order granting the
  3   following relief:
  4          A. Summary judgment on the First Claim for Relief in that certain Complaint For
  5              Declaratory Relief; Breach of Contract; Injunctive Relief (the “Complaint”)
  6              attached hereto as exhibit “A”;
  7          B. The issuance of a preliminary injunction enforcing the terms of that certain
  8              Letter Agreement re: Resignation from Board of Directors and Limitation on
  9              Shareholder Authority During the Pendency of Chapter 11 Bankruptcy (the
 10              “Letter Agreement”) by enjoining Shahan Ohanessian (“Ohanessian”), and
 11              any person acting in concert with him, from taking any of the following actions
 12              during the pendency of the Debtors’ bankruptcy cases: 1) serving as a director
 13              or purporting to be a director of Debtors; 2) removing or purporting to remove
 14              any member of the board of directors of Global or Scoobeez, or the chief
 15              restructuring officer; 3) calling, noticing or participating in a special
 16              shareholders’ meeting; or 4) taking any other action that would constitute
 17              involvement with, or in, the management and/or operations of the Debtors;
 18          C. Summary judgment on the Second Claim for Relief in the Complaint;
 19          D. The adjudication of all issues of fact as to which no genuine dispute exists and
 20              all issues of law that the Court deems to be subject to summary adjudication;
 21          E. Awarding the Debtors a monetary judgment against the defendants in the
 22              amount of all fees and costs incurred in this adversary; and
 23          F. Such further relief as the Court deems just and proper.
 24          This Motion is made based upon the concurrently filed Statement of Undisputed Facts and
 25   Proposed Conclusions of Law (the “SUF”), the Declaration of Scott Sheikh (the “Sheikh Decl.”),
 26   and the within Memorandum of Points and Authorities.
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  1         WHEREFORE, the Debtors pray for a judgment granting the foregoing relief.
  2   DATED: February 21, 2019                        OKEEFE & ASSOCIATES
  3                                                   LAW CORPORATION, P.C.

  4
                                                              /s/ Sean A. O’Keefe
                                                      By: __________________________
  5                                                       Sean A. O’Keefe, Special
                                                          Litigation Counsel for the
  6
                                                          Debtors
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  1                        MEMORANDUM OF POINTS AND AUTHORITIES
  2                                                     I
  3                              SUMMARY OF GROUNDS FOR RELIEF
  4          In June of 2019, Shahan Ohanessian (“Ohanessian”), the holder of over ninety percent of
  5   Global’s common stock, resigned as an officer and director of Global pursuant to that certain
  6   Written Consent of The Majority Shareholder of Scoobeez Global, Inc. (the “Consent”).
  7   Concurrently with the execution of the Consent, Ohanessian and the Debtors entered into the
  8   Letter Agreement. In the latter contract, Ohanessian agreed not to interfere with or have any
  9   involvement in the management or operations of the Debtors during the pendency of their
 10   respective bankruptcy cases (the “Bankruptcy Cases”). In November of 2019, Ohanessian serially
 11   violated the Letter Agreement by purporting to 1) call and hold a special shareholders’ meeting 2)
 12   remove one of Global’s directors; and 3) appoint himself, his wife, Shoushana Ohanessian, and
 13   Grigori Sedrakyan to Global’s board of directors (the “Board”).
 14          Ohanessian was removed from Board and excluded from management of the Debtors for
 15   compelling reasons. His attempt to reassert control over the Debtors is a clear breach of Letter
 16   Agreement that places at risk the Debtors’ reorganization effort by, inter alia, imperiling the
 17   continued use of cash collateral. The Complaint and this Motion seek to remedy Ohanessian’s
 18   wrongdoing by enforcing the terms of the Letter Agreement and compelling Ohanessian to pay for
 19   the damages he inflicted upon the Debtors through his conduct.
 20                                                     II
 21                                 SUMMARY OF MATERIAL FACTS
 22          A.      The Chapter 11 Cases.
 23          On April 30, 2019 (the “Petition Date”), the Debtors filed voluntary petitions for relief under
 24   Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Central District
 25   of California (the “Court”). (Sheikh Decl., ⁋ 7). Since the Petition Date, the Debtors have managed
 26   their affairs and operated their businesses in the ordinary course as debtors-in-possession pursuant
 27   to sections 1107(a) and 1108 of the Bankruptcy Code. (Sheikh Decl., ⁋ 10).
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  1           B.       The Debtors’ Secured Creditor.
  2           Hillair Capital Management LLC and its affiliates (collectively, “Hillair”) hold a lien
  3   against substantially all of the Debtors’ assets as security for an allowed claim in the approximate
  4   amount of $11.0 million (the “Hillair Claim”). (Sheikh Decl., ⁋ 11). Hillair has authorized the
  5   Debtors to continue using cash collateral on certain terms and conditions. (Sheikh Decl., ⁋ 13).
  6   These terms and conditions include the exclusion of Shahan Ohanessian (“Ohanessian”), Global’s
  7   90% shareholder, from management. Id.; (see also Sheikh Decl., ex. 4 & 5) Additionally, pursuant
  8   to the Third Stipulation Regarding Continued Cash Collateral, if any of the Debtors’ existing
  9   board members, Brian Weiss, Howard Grobstein and Daniel Harrow, is removed from the board
 10   without Hillair’s consent, the Debtors will be in default under the terms of this stipulation. (Sheikh
 11   Decl., ex. 4).
 12           C.       The Appointment of a CRO and The Removal of The Ohanessian Board.
 13           On May 16, 2019, the Debtors filed that certain Application for an Order Authorizing and
 14   Approving (I) Appointing Brian Weiss as Chief Restructuring Officer of the Debtors Nunc Pro
 15   Tunc to May 16, 2019 [Docket No. 63] (the “CRO Application”). (Sheikh Decl., ex. 6). On June 6,
 16   2019, the Court entered an order granting the CRO Application. (Sheikh Decl., ex. 6). On June 5,
 17   2019, Ohanessian executed the Consent and the Letter Agreement. (Sheikh Decl., ex. 2 & 3). The
 18   following actions were authorized in the Consent:
 19           1. The number of authorized board seats was fixed at a minimum of one and a
 20                maximum of five;
 21           2. The existing board members, including Ohanessian, were removed; and
 22           3. Brian Weiss and Daniel W. Harrow were installed as the sole members of the
 23                Board 1.
 24   (Sheikh Decl., ex. 2 & 3).
 25           In the Letter Agreement, Ohanessian agreed, in pertinent part, as follows:
 26
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       Subsequently, the Committee was permitted to appoint one member to the Board of Directors
      consisting of Howard Grobstein.
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             Furthermore, I hereby agree not to use the following powers afforded to me as a
  1          shareholder of Scoobeez Global during the pendency of the Chapter 11
  2          Bankruptcy proceedings:

  3         •     Vote my shares in Scoobeez Global to remove or otherwise alter the
                  composition of the Board of Directors of Scoobeez Global or
  4               Scoobeez except in the event that another shareholder attempts to
                  remove or otherwise alter the composition of the Board of directors of
  5
                  Scoobeez Global or Scoobeez;
  6
            •     Be involved with the management or financial affairs of Scoobeez
  7               Global or Scoobeez; and
  8
            •     Affect the business or operations of Scoobeez Global or Scoobeez
  9               except as requested and necessary to preserve the relationship with
                  Amazon.com and its affiliated companies
 10
                                                    ***
 11          I request that a Court of competent jurisdiction enter an order to this effect and
             expressly agree that because there is no other adequate remedy available, Scoobeez
 12          Global and/or Scoobeez may enforce this Letter Agreement by way of injunctive
             relief.
 13
      (Sheikh Decl., ex. 3).
 14
      The Letter Agreement and the Consent were signed and implemented to resolve a series of issues
 15
      raised by Hillair and to secure the following critical benefits for the Debtors: The continued use of
 16
      cash collateral for business operations; the vesting of corporate control in an independent Board of
 17
      Directors; and the installation of an experienced chief restructuring officer (“CRO”) to manage the
 18
      Debtors’ reorganization effort. (Sheikh Decl., ⁋ 24).
 19
             D.      The Admissions In The RFS Motion And The Joinder.
 20
             On November 22, 2019, Peter Rosenthal (“Rosenthal”), the holder approximately 2.6% of
 21
      the common stock of Global, filed that certain Motion for Relief From the Automatic Stay (the “RFS
 22
      Motion”). (Sheikh Decl., ex. 9). On November 23, 2019, Ohanessian filed an extensive Joinder to
 23
      the RFS Motion (the “Joinder”). (Sheikh Decl., ex. 9). The RFS and Joinder were supported by the
 24
      declarations of Rosenthal and Ohanessian, respectively. In these filings, Rosenthal and Ohanessian
 25
      admitted all of the facts necessary for the grant of summary judgement on the First and Second
 26
      Claims for Relief in the Complaint.
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  1          Rosenthal made the following representations in the RFS Motion:
  2          “On October 29, 2019, majority shareholder Shahan Ohanessian served notice upon
  3          the Board, officers and bankruptcy counsel that due to their failure to call a
             shareholders meeting, he was calling one for November 1, 2019 to discuss the
  4          current status of Scoobeez Global, the actions of the current board of directors,
             Scoobeez Global’s relationship with, and the recently filed lawsuit against,
  5          Amazon, as well as possible removal of the existing Board or some of its members.”
  6
             “The Special Meeting of the Shareholders took place on November 1, 2019 at
  7          approximately 12:00 noon. Three shareholders were present.”

  8          “After review of the situation, the shareholders voted to remove Daniel W. Harrow
             as a member of the board, and voted to elect Chishona Ohanessian, Shahan
  9          Ohanessian and Gregori Sedrakyan as new directors.”
 10
             “The first act of this new board was to ask the Debtors’ management why a sale is
 11          a better alternative than restructuring and reorganization of the Debtors. It will seek
             answers into the issues of excess technology spending. It will deal with conflicts of
 12          interest among the officers of the debtors, and it may seek a new Chief Restructuring
             Officer who does not have ties to Hillair. It will not wrest control of the finances of
 13          the Debtors from its management.”
 14   (Sheikh Decl., ex. 8).
 15          Ohanessian admits these same facts in the declaration he filed in support of the Joinder.
 16   (Sheikh Decl., ex. 9). He admits he called the meeting, he admits he participated in the removal of
 17   Harrow and the installation of three new directors, including himself, and he admits the new Board
 18   “shall seek” to replace Mr. Weiss as CRO if the new Board disagrees with his decisions regarding
 19   the Debtors’ restructuring effort. Id. Since the Letter Agreement barred Mr. Ohanessian from having
 20   any involvement “with the management or financial affairs” of the Debtors, Ohanessian has admitted
 21   he breached the terms of this contract.
 22                                                    III
 23                              LEGAL ANALYSIS AND AUTHORITIES
 24          A.      The Legal Standard.
 25          Under Federal Rule of Civil Procedure (“FRCP”) 56, made applicable by Bankruptcy Rule
 26   7056, “[t]he court shall grant summary judgment if the movant shows that there is no genuine
 27   dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.
 28   Civ. Proc. 56(a). FRCP 56(e) provides that “if a party fails to properly support an assertion of fact

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  1   or fails to properly address another party’s assertion of fact as required by Rule 56(c),” the Court
  2   may, among other alternatives, “grant summary judgment if the motion and supporting materials –
  3   including the facts considered undisputed – show that the movant is entitled to it.” Fed. R. Civ.
  4   Proc. 56(e). See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986); Celotex Corp. v.
  5   Catrett, 477 U.S. 317, 322 (1986); Matsushita Elec. Indus. V. Zenith Radio Corp., 475 U.S. 574,
  6   586 (1986).
  7          Once a party has met its burden of demonstrating the lack of genuine dispute of material
  8   fact, the “party opposing a properly supported motion for summary judgment may not rest upon
  9   mere allegation or denials of his pleading, but must set forth specific facts showing that there is a
 10   genuine issue for trial.” Anderson, 477 U.S. at 257. A fact is “material” when, under the
 11   governing substantive law, it could affect the outcome of the case. Id. at 248. A “genuine dispute”
 12   of material fact arises if “the evidence is such that a reasonable jury could return a verdict for the
 13   nonmoving party.” Id.
 14          The facts establishing all of the elements of the First and Second Claims for Relief alleged
 15   in the Complaint are admitted in the RFS Motion and the Joinder filed by Ohanessian. Accordingly,
 16   the claims before the Court can and should be decided by summary judgment.
 17          B.      Summary Judgment Should Be Granted As To The First Claim For Relief.
 18          In the First Claim for Relief, the Debtors seek a judgment 1) finding Ohanessian in breach
 19   of the Letter Agreement and 2) enforcing the terms of this agreement through the issuance of an
 20   injunction barring Ohanessian, and anyone acting under his control or in concert with him, from
 21   interfering with, or having any further involvement in the management of the Debtors during the
 22   Bankruptcy Cases. A plaintiff asserting a breach of contract claim, such as the foregoing, must
 23   plead and prove (1) the existence of a contract, (2) the plaintiff's performance or excuse for
 24   nonperformance under this contract, (3) the defendant's breach of the contract, and (4) damages.
 25   Walsh v. W. Valley Mission Cmty. Coll. Dist., 66 Cal. App. 4th 1532, 1545, 78 Cal. Rptr. 2d 725,
 26   733 (1998); McDonald v. John P. Scripps Newspaper, 210 Cal.App.3d 100, 104, 257 Cal.Rptr. 473
 27   (1989); FPI Development, Inc. v. Nakashima, 231 Cal.App.3d 367, 282 Cal.Rptr. 508 (1991).
 28   These elements are satisfied in this case.

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  1          The Letter Agreement is a binding contract. See Cal. Civ. Code § 1550. The parties who
  2   entered into this agreement were capable of entering into a contract, they consented to the terms of
  3   this contract, the object of the contract was lawful, and there was sufficient cause or consideration
  4   for the agreement, to wit, the need to obtain the use of cash collateral. Id.; see also OTO, L.L.C. v.
  5   Kho, 8 Cal. 5th 111, 155, 447 P.3d 680, 711 (2019) (“Moreover, under basic contract law, the
  6   receipt of a benefit is not the exclusive measure of consideration; “a detriment to” one party is
  7   sufficient consideration for a contract even if the other contracting party receives no “benefit for his
  8   promise.”) citing Westphal v. Nevills, 92 Cal. 545, 548, 28 P. 678 (1891). The Debtors
  9   performance under the contract, if any, was limited to managing the business, which in fact they
 10   have done.
 11          The “breach” element is also established. In the Letter Agreement, Ohanessian
 12   contractually agreed he was barred from taking any of these actions during the pendency of the
 13   Bankruptcy Cases:
 14
             •     Voting his shares in Global to remove or otherwise alter the
 15                composition of the Board of Directors of Global or Scoobeez except
                   in the event that another shareholder attempts to remove or otherwise
 16                alter the composition of the Board of directors of Global or Scoobeez;
 17
             •     Being involved with the management or financial affairs of Global or
 18                Scoobeez; and

 19          •     Affecting the business or operations of Global or Scoobeez except as
                   requested and necessary to preserve the relationship with
 20                Amazon.com and its affiliated companies
 21   (Sheikh Decl., ex. 3).
 22   In the Joinder and in the declaration filed in support thereof, Ohanessian admits he breached the first
 23   prohibition in the Letter Agreement by demanding the Board call and notice a special meeting,
 24   voting to remove one of the Board’s three directors, and purporting to appoint himself and his cronies
 25   to Global’s board. (Sheikh Decl., ex. 9). Contrary to Ohanessian’s contention, these actions were not
 26   authorized by the “except in the event that another shareholder attempts to remove or otherwise alter
 27   the composition of the Board of directors of Scoobeez Global or Scoobeez” language in the Letter
 28   Agreement. No shareholder other than Ohanessian held a sufficient number of shares to call a special

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  1   shareholders’ meeting or to take any other action that could affect the composition of the Board.
  2   Only Ohanessian had this power. Accordingly, it was Ohanessian who orchestrated the Alleged
  3   Special Meeting and it was Ohanessian who purported to seize control of Global’s board through
  4   this meeting. Rosenthal was a mere straw man.
  5            Ohanessian also breached the prohibition in the second paragraph above by purporting to
  6   remove Harrow and appointing himself, his wife and Sedrakyan to the Board. Through these
  7   actions, he necessarily became “involved with the management…of Scoobeez Global”.
  8            The damages element is also satisfied. The purpose of the Letter Agreement was to a)
  9   avoid a dispute with Hillair over the use of cash collateral, 2) avoid litigation over the appointment
 10   of Chapter 11 trustee and 3) vest managerial power over the Debtors in independent managers who
 11   had the confidence of the creditors and the Court. By purporting to re-insert himself and his
 12   cronies back into the Debtors’ corporate cockpit, Ohanessian has thwarted the entire purpose of the
 13   Letter Agreement. His actions have also damaged the Debtors by creating confusion over the issue
 14   of corporate control and corporate power in the midst of the Debtors’ reorganization effort.
 15   Eliminating this confusion is particularly important now that a plan of reorganization has been
 16   filed.
 17            B.     Specific Performance Via An Injunction Is Justified.
 18            Specific performance 2 of a contract may be ordered whenever (1) the contract is
 19   sufficiently definite to be enforced; (2) the contract is just and reasonable; (3) the plaintiff has
 20   performed; (4) there is a failure of performance by the defendant; (5) adequate consideration; and
 21   (6) an inadequate legal remedy. See Byrne v. Laura, 52 Cal. App. 4th 1054, 1073, 60 Cal. Rptr. 2d
 22   908, 920 (1997); Blackburn v. Charnley, 117 Cal.App.4th 758, 766, 11 Cal.Rptr.3d 885 (2004).
 23   These elements are satisfied in this case.
 24            The terms of the Letter Agreement are definite, the contract is just and reasonable, the
 25   Debtors have performed, Ohanessian breached the contract, consideration is adequate, and there is
 26   no adequate remedy at law. (Sheikh Decl., ex. 3).
 27
      2
       Cal.Civ.Code 3390 (“Except as otherwise provided in this Article, the specific performance of an
 28   obligation may be compelled.”)

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  1   It is also clear from the docket in this case that purpose of the Letter Agreement and consent was to
  2   allow the company to move forward with the use cash collateral and to avoid a contest over control
  3   of the Debtor due to Ohanessian’s past actions. (See Sheikh Decl., ex. 1).
  4          Ohanessian has received and continues to receive the benefit of this consideration and he,
  5   like any other party-in-interest, has the right to seek relief from this Court if he believes the
  6   Debtors’ current Board is failing to competently serve the best interests of the estate. As for the
  7   last element, the inadequacy of damages as a remedy was a fact stipulated to in the Letter
  8   Agreement:
  9          I request that a Court of competent jurisdiction enter an order to this effect and
 10          expressly agree that because there is no other adequate remedy available,
             Scoobeez Global and/or Scoobeez may enforce this Letter Agreement by way of
 11          injunctive relief.

 12   (Sheikh Decl., ex. 3).

 13          As the one court explained, the line between specific performance and injunctive relief is

 14   blurred in contract cases such as the instant one:

 15          In a breach of contract case, like this one, the distinction between specific
             performance and injunctive relief is not as clear as the parties suggest. When a party
 16
             breaches a contract, a court may, in certain circumstances, order specific
 17          performance of a contract duty or order an injunction against breach of a contract
             duty. Restatement (Second) of Contracts § 357 (Am. Law Inst. 1981). If a court
 18          “orders a party to render the performance that [it] promised,” that remedy is
             typically classified as specific performance. Id. § 357 cmt. a. If a court orders a
 19          party to refrain from certain conduct that would be inconsistent with the party's
             obligations under the contract, the remedy could be classified as either specific
 20
             performance of the duty or an injunction against the prohibited conduct. See id. §
 21          357 cmt. b. Further, the fact that an injunction may be mandatory or prohibitory
             undermines any distinction between specific performance and injunctive relief in a
 22          contract case. See Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571
             F.3d 873, 878–79 (9th Cir. 2009).
 23
 24          Perhaps recognizing the difficulty in distinguishing between specific performance
             and injunctions, courts often characterize requests for specific performance of
 25          contractual duties as requests for injunctive relief. See Power P.E.O., Inc. v. Emps.
             Ins. of Wausau, 201 Ariz. 559, 38 P.3d 1224, 1228 (Ariz. Ct. App. 2002). (“Indeed,
 26          courts frequently characterize an injunction preventing a party from breaching a
             contract as an order of specific performance.”) (citing Daley v. Earven, 131 Ariz.
 27
             182, 639 P.2d 372 (Ariz. Ct. App. 1981)); see also Lansmont Corp. v. SPX Corp.,
 28          No. 5:10-cv-05860 EJD, 2012 WL 6096674, at *5–6 (N.D. Cal. Dec. 7, 2012)
             (recognizing a permanent injunction as a means of ordering specific performance).
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  1   Pure Wafer Inc. v. City of Prescott, 275 F. Supp. 3d 1173, 1176 (D. Ariz. 2017). In recognition of
  2   this fact, the Pure Wafer court applied the four factors deemed a predicate for injunctive relief in
  3   eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391, 126 S. Ct. 1837, 1839, 164 L. Ed. 2d 641
  4   (2006), namely (1) a showing of irreparable injury; (2) that remedies available at law, such as
  5   monetary damages, are inadequate to compensate for this injury; (3) that, considering the balance
  6   of hardships between the plaintiff and defendant, a remedy in equity is warranted; and (4) that the
  7   public interest would not be disserved by a permanent injunction. Id. Although satisfaction of these
  8   elements is not necessary is this case, because the parties contractually agreed injunctive relief
  9   would be granted in the event of a breach of the Letter Agreement, they are nonetheless satisfied
 10   on the facts.
 11           Irreparable harm is “that for which compensatory damages are unsuitable.” MGM Studios,
 12   Inc. v. Grokster, Ltd., 518 F.Supp.2d 1197, 1210 (C.D. Cal. 2007) (quoting Wildmon v. Berwick
 13   Universal Pictures, 983 F.2d 21, 24 (5th Cir. 1992). Here, the Debtors will suffer irreparable harm
 14   unless injunctive relief is granted for the following reasons:
 15              1. The exclusion of Ohanessian from management is requirement for the
 16                   continued use of cash collateral. Without this continued use, the Debtors’
 17                   business will fail; and
 18              2. The Debtors have a proposed a plan of reorganization and the legal efficacy
 19                   and effect of this plan will be threatened if Ohanessian is allowed to claim
 20                   corporate control of the Debtors; and
 21              3. Ohanessian is insolvent. Accordingly, awarding the Debtors a larger damage
 22                   judgment against him is an inadequate remedy.
 23   See generally Cazorla v. Hughes, No. CV 14-02112 MMM (CWx), 2014 WL 12235425, at *18–21
 24   (C.D. Cal. Apr. 7, 2014); Google, Inc. v. Jackman, No. 5:10-cv-04264 EJD (HRL), 2011 WL
 25   3267907, at *5 (N.D. Cal. July 28, 2011); Rent–A–Ctr., Inc. v. Canyon Television & Appliance
 26   Rental, Inc., 944 F.2d 597, 603 (9th Cir. 1991) (noting that “economic injury alone does not
 27   support a finding of irreparable harm, because such injury can be remedied by a damage award,”
 28

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  1   but intangible injuries that may also arise out of a contractual breach may constitute irreparable
  2   harm).
  3            An award of damages would be inadequate because, as stated above, Ohanessian could
  4   never pay the damage award. The balance of hardships element tips sharply in favor of the
  5   Debtors. The issuance of an injunction would only compel Ohanessian to do what he agreed—not
  6   to interfere with the management of the Debtors during the pendency of the Bankruptcy Cases.
  7   Ohanessian also cannot complain that this relief is inequitable for this same reason. Moreover, it
  8   was Ohanessian who drove the Debtors into bankruptcy. Allowing the existing turnaround
  9   management team the opportunity to right the corporate ship will benefit all parties-in-interest,
 10   including Ohanessian.
 11            As for the public interest, it will certainly not be “disserved” by the issuance of injunction
 12   compelling Ohanessian to do that which he agreed. To the contrary, this relief is clearly in the
 13   public interest to the extent the latter is congruent with what is in the best interests of the Debtors’
 14   creditor body.
 15            In weighing the merits of an injunction, the Court should also consider the fact that the
 16   Letter Agreement allows Ohanessian to file a competing plan of reorganization and to otherwise
 17   participate in the plan confirmation process. Accordingly, if he believes his vision for the Debtors
 18   offers creditors a better opportunity, he is entitled to present this vision through his own plan. The
 19   creditors will then have the right to vote. The fact that Ohanessian has not availed himself of this
 20   opportunity speaks volumes.
 21            B.      Summary Judgment Should Be Granted On The Second Claim For Relief.
 22            In the Second Claim for Relief, the Debtors seek a judgment declaring stating as follows 3:
 23                       A) The Alleged Special Meeting was not properly called;
 24
 25   3
        The elements required to establish a claim for declaratory judgment are (1) a substantial
 26   controversy exists (2) between parties having adverse legal interests and (3) of sufficient
      immediacy and reality to warrant the issuance of a declaratory judgment. MedImmune, Inc. v.
 27   Genentech, Inc., 549 U.S. 118, 127 (2007); Maryland Cas. Co. v. Pac. Coal & Oil Co., 312 U.S.
      270, 273 (1941); Shell Gulf of Mexico Inc. v. Ctr. for Biological Diversity, Inc., 771 F.3d 632, 635
 28   (9th Cir. 2014).

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  1                      B) The Alleged Special Meeting was not properly noticed;
  2                      C) All actions taken at the Alleged Special Meeting are void;
  3                      D) Daniel W. Harrow was not validly removed from the Board by the
  4                      vote taken at the Alleged Special Meeting;
  5                      E) Ohanesian, Shoushana Ohanessian and Sedrakyan are not members
  6                      of the Board; and
  7                      F) The Board is limited to Daniel W. Harrow, Brian Weiss and Howard
  8                      Grobstein.
  9   The defects in the notice given with respect to the Alleged Special Meeting justify these
 10   findings.
 11          The Idaho code section addressing special shareholder meetings states:
 12
             30-29-705. NOTICE OF MEETING. (a) A corporation shall notify shareholders
 13          of the date, time and place of each annual and special shareholders’ meeting no
             fewer than ten (10) nor more than sixty (60) days before the meeting date.
 14
      Idaho Code Ann. § 30-29-705 (emphasis added). Subsection (c) of the above statute states:
 15          Notice of a special meeting of shareholders must include a description of the
             purpose or purposes for which the meeting is called.
 16
      Id. (emphasis added). Section 4 of Global’s bylaws incorporates these same statutory provisions:
 17          Special meetings of the shareholders, for any purpose or purposes, unless otherwise
 18          prescribed by statute, may be called by the Chief Executive Officer or by the Board
             of Directors and must be called by the Chief Executive Officer at the request of the
 19          holders if not less than one-tenth of all the outstanding shares of the corporation
             entitled to vote are at the meeting.
 20
      (Sheikh Decl., ex. 7).
 21
             Based upon Rosenthal’s representations to the Court, the purported Special Meeting failed
 22
      to comply with the requirements in the bylaws for, inter alia, the following reasons:
 23
             1. To call a meeting without the consent of the board of directors or Global’s chief
 24
                  executive officer, the requesting shareholders would need to establish that they
 25
                  held at least ten percent of Global’s outstanding shares. Since Rosenthal’s and
 26
                  Dolan’s combined holding are less than 2.7%, they lacked this power, and
 27
                  Ohanessian was contractually precluded from making such a request;
 28
             2. The alleged Special meeting was set on two-days-notice, not the minimum of
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  1                ten days; and
  2          3.    There is no evidence indicating that notice of the meeting was given to Global’s
  3                other shareholders, or that this notice disclosed the meeting’s intended purpose.
  4   These deficiencies render the purported Special Meeting a nullity and all decisions made therein
  5   void. See Kemmer v. Newman, 161 Idaho 463, 466, 387 P.3d 131, 134 (2016) (“Actions taken in
  6   violation of a corporation's bylaws are void.”); Glahe v. Arnett, 38 Idaho 736, 741, 225 P. 796, 798
  7   (1924) (noting that actions taken at a meeting called in violation of the bylaws were void).
  8                                                     IV
  9                                              CONCLUSION
 10          Based on the foregoing, the Debtors would respectfully pray that the Court grant summary
 11   judgment on the First and Second Claims for Relief alleged in the Complaint and issue an injunction
 12   barring Ohanessian, and anyone acting in concert with him, from taking any action that would
 13   interfere with, or involve him in, or with, the Debtors’ management or operations during the
 14   pendency of the Bankruptcy Cases, and award the Debtors the fees and costs incurred in this
 15   adversary.
 16
      DATED: February 21, 2020                                OKEEFE & ASSOCIATES
 17                                                           LAW CORPORATION, P.C.

 18
                                                                   /s/ Sean A. O’Keefe
 19                                                           By: __________________________
 20                                                               Sean A. O’Keefe, Special
                                                                  Litigation Counsel for the
 21                                                               Debtors

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  5
      Email: sokeefe@okeefelc.com
  6   Special Litigation Counsel to the Debtors

  7
                               UNITED STATES BANKRUPTCY COURT
  8
                                   CENTRAL DISTRICT OF CALIFORNIA
  9
                                        LOS ANGELES DIVISION
 10

 11    In re
                                                   Adversary No.
 12    SCOOBEEZ, INC., et al.
                                                   Lead Case No. 2:19-bk-14989-WB
 13                  Debtors and Debtors in
                     Possession.                   Chapter 11
 14
       Affects:                                    (Jointly Administered with
 15                                                Case Nos. 2:19-bk-14991; 2:19-bk-14997)
 16       All Debtors
        X SCOOBEEZ, INC., only
 17     X SCOOBEEZ GLOBAL, INC. only
          SCOOBUR, LLC only                        COMPLAINT FOR DECLARATORY
                                                   RELIEF; BREACH OF CONTRACT;
 18                                                INJUNCTIVE RELIEF
 19
       SCOOBEEZ, INC., a California corporation,
 20    and SCOOBEEZ GLOBAL, INC., an Idaho
       corporation,
 21
                     Plaintiffs,
 22
       v.
 23
 24    SHAHAN OHANESSIAN, SHOUSHANA
       OHANESSIAN AND GREGORI
 25    SEDRAKYAN

 26                  Defendants

 27
 28

 29

 30
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  1          Scoobeez, Inc., a California corporation (“Scoobeez”), and Scoobeez Global, Inc., an Idaho
  2   corporation (“Global”) (together the “Plaintiffs” or the “Debtors”), hereby respectfully allege and
  3   state as follows:
  4                                    JURISDICTION AND VENUE
  5          1.      On April 30, 2019 (the “Petition Date”), Global and Scoobeez filed petitions under
  6   Chapter 11 of Title 11 of the United States Bankruptcy Code (the “Bankruptcy Code”) in the
  7   United States Bankruptcy Court for the Central District of California ( the “Bankruptcy Court”).
  8          2.      Global’s Chapter was 11 case was assigned case number 2:19-bk-14991 (the
  9   “Global Case”) and Scoobeez Chapter 11 case was assigned case number 2:19-bk-14989-WB (the
 10   “Scoobeez Case”) (together the “Bankruptcy Cases”).
 11          3.      The claims in this adversary proceeding arise in and relate to the Bankruptcy Cases.
 12          4.      The Bankruptcy Court has jurisdiction over this adversary proceeding pursuant to
 13   28 U.S.C. §§ 157 and 1334.
 14          5.      This adversary proceeding is a core proceeding under, inter alia, 28 U.S.C.
 15   §§ 157(b)(2)(A) and (O).
 16          6.      If this adversary proceeding is determined to be a non-core proceeding, the
 17   Plaintiffs consent to the entry of final orders and judgments by the bankruptcy judge. The
 18   defendants are hereby notified that Fed. R. Bankr. P. 7012(b) requires the defendants to admit or
 19   deny whether this adversary proceeding is a core or non-core proceeding and, if non-core, to state
 20   whether the defendants’ consent, or do not consent, to the entry of final orders or judgment by the
 21   bankruptcy judge.
 22          7.      This adversary proceeding is a civil proceeding arising in and related to the
 23   Bankruptcy Cases, and such case is pending before this Court. Accordingly, venue in this Court is
 24   proper under 28 U.S.C. § 1409(a).
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  1                                              THE PARTIES
  2          8.      The Plaintiffs are the debtors and debtors-in-possession in their respective
  3   Bankruptcy Cases.
  4          9.      Shahan Ohanessian (“Ohanessian”) is an individual who is a shareholder of Global.
  5   Ohanessian purports to be a member of the board of directors of Global (the “Board”).
  6          10.     The Plaintiffs allege, on information and belief, that Ohanessian resides in Los
  7   Angeles County, California.
  8          11.     Shoushana Ohanessian is the spouse of Ohanessian and she purports to be a
  9   member of the Board.
 10          12.     The Plaintiffs allege, on information and belief, that Shoushana Ohanessian resides
 11   in Los Angeles County, California.
 12          13.     Gregori Sedrakyan (“Sedrakyan”) is an individual who purports to be a member of
 13   the Board.
 14          14.     The Plaintiffs allege, on information and belief, that Sedrakyan resides in Los
 15   Angeles County, California.
 16                                       GENERAL ALLEGATIONS
 17                                                 The Debtor
 18          15.     Ohanessian owns over ninety percent of the common stock of Scoobeez Global.
 19          16.     Global owns approximately ninety-six percent of the common stock of Scoobeez,
 20   Inc.
 21          17.     As of the Petition Date, Ohanessian was the chairman of the Board and the chief
 22   executive officer of Global.
 23          18.     Hillair Capital Management LLC and its affiliates (collectively, “Hillair”) hold a
 24   lien against substantially all of the Plaintiffs’ assets as security for an allowed claim in the
 25   approximate amount of $11.0 million (the “Hillair Claim”).
 26          19.     Hillair has authorized the Plaintiffs to continue using cash collateral on certain
 27   terms and conditions. These terms and conditions include the exclusion of Ohanessian from
 28   management of the Plaintiffs.
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  1          20.     On June 5, 2020, Ohanessian executed that certain Written Consent of The Majority
  2   Shareholder of Scoobeez Global, Inc. (the “Consent”). A true and correct copy of the Consent is
  3   attached hereto as Exhibit “A”.
  4          21.     The following directors were removed from the Board pursuant to the Consent:
  5   Shahan Ohanessian, Shoushana Ohanessian, Jowita Chomentowska, Lance Brinker and Richard
  6   Dolan (the “Ohanessian Board Members”)
  7          22.     Brian Weiss and Daniel W. Harrow were elected to serve on the Board in the place and

  8   stead of the Ohanessian Board Members effective as of June 5, 2019. Howard Grobstein was also

  9   elected to the Board in June of 2019.

 10          23.     Concurrently with the execution of the Consent, Ohanessian executed that certain

 11   Letter Agreement re: Resignation from Board of Directors and Limitation on Shareholder
 12   Authority During the Pendency of Chapter 11 Bankruptcy (the “Letter Agreement”). A true and
 13   correct copy of the Letter Agreement is attached hereto as Exhibit “B”.
 14          24.     In the Letter Agreement, Ohanessian contractually agreed he would not engage in
 15   any of the following actions during the pendency of the Bankruptcy Cases:
 16
             • Vote his shares in Scoobeez Global to remove or otherwise alter the composition
 17          of the Board of Directors of Scoobeez Global or Scoobeez except in the event that
             another shareholder attempts to remove or otherwise alter the composition of the
 18          Board of directors of Scoobeez Global or Scoobeez;
 19
             • Be involved with the management or financial affairs of Scoobeez Global or
 20          Scoobeez; and

 21          • Affect the business or operations of Scoobeez Global or Scoobeez except as
             requested and necessary to preserve the relationship with Amazon.com and its
 22
             affiliated companies
 23
      (See exhibit “B”).
 24
             25.     Pursuant to the Third Stipulation Regarding Continued Cash Collateral entered
 25
      into by and among Hillair and the Debtors (the “Stipulation”), if any of the Board’s existing
 26
      members, Brian Weiss, Howard Grobstein and Daniel Harrow, are removed from the Board
 27
      without Hillair’s consent, the Debtors will be in default under the terms of the Stipulation. True
 28
      and correct copies of the Stipulation and the order of this Court approving the same are attached
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  1   hereto as Exhibits “C” and “D” respectively.
  2          26.      On May 16, 2019, the Debtors filed that certain Application for an Order
  3   Authorizing and Approving (I) Appointing Brian Weiss as Chief Restructuring Officer of the
  4   Debtors Nunc Pro Tunc to May 16, 2019 [Docket No. 63] (the “CRO Application”). On June 6,
  5   2019, the Court entered an order granting the CRO Application (the “CRO Order”). A true and
  6   correct copy of CRO Order is attached hereto as Exhibit “E”.
  7          27.      On October 18, 2019, Ohanessian purported to send then co-Chief Executive
  8   Officers of Scoobeez Global, George Voskanian and Scott A. Sheikh (“Sheikh”), a written notice
  9   demanding that Global call and notice a special meeting of Global’s shareholders within fifteen
 10   days of said notice.
 11          28.      On October 29, 2019, Ohanessian sent an email to Messrs. Voskanian, Shiekh, and
 12   the Board advising the Board he was calling a Special Meeting of the Shareholders and that such
 13   meeting would be held at 1:00 p.m. PST on November 1, 2019, at Global's principal offices.
 14          29.      On October 31, 2019, Co-CEO Sheikh sent an email to Ohanessian advising him
 15   access to Global's principal offices would not be granted for the purpose of holding a
 16   shareholders’ meeting on November 1, 2019 due to, inter alia, the lack proper notice of this
 17   meeting.
 18          30.      Ohanessian, Richard Dolan and Peter Rosenthal contend they held a special
 19   meeting of Global’s shareholders on November 1, 2019 and took the following actions at this
 20   meeting:
 21                A) removed Daniel W. Harrow from the Board; and
 22                B) elected the following individuals to the Board: Ohanessian, Shoushana
 23                   Ohanessian and Sedrakyan.
 24   (the “Special Meeting”)
 25          31.      On November 22, 2019, Ohanessian, using Peter Rosenthal and the Rosenthal
 26   Family Trust UTD 3/25/1988 (together “Rosenthal”) as proxies, filed a motion for relief from the
 27   automatic stay in the Bankruptcy Cases (the “RFS Motion”).
 28          32.      In the RFS Motion, Ohanessian and Rosenthal prayed for an order confirming the
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  1   automatic stay did not bar the calling, noticing and holding of the Special Meeting, or the actions
  2   purportedly taken at the Special Meeting.
  3          33.     The purpose of the RFS Motion was to persuade the Bankruptcy Court to approve
  4   the actions taken at the Special Meeting after the fact.
  5          34.     The RFS Motion was denied on January 7, 2019 pursuant to an oral ruling of the
  6   Bankruptcy Court.
  7          35.     Ohanessian breached the terms of the Letter Agreement by calling, noticing and
  8   attending the Special Meeting, purporting to remove Daniel W. Harrow from the Board at the
  9   Special Meeting, purporting to appoint himself, Shoushana Ohanessian and Gregori Sedrakyan to
 10   the Board at the Special Meeting, and by filing the RFS.
 11          36.     The need for injunctive relief barring Ohanessian from interfering in the Debtors’
 12   corporate affairs was explicitly provided for in the Letter Agreement and this relief is justified for
 13   the following reasons:
 14          A.      The PLainiffs are suffering irreparable harm. Ohanessian’s breach of the
 15          terms of the Letter Agreement has caused, and is continuing to cause the Plaintiffs
 16          irreparable harm by 1) placing at risk the Plaintiffs’ ability to continue to use
 17          Hillair’s cash collateral; 2) undermining the authority of the CRO and the authority
 18          of the validly elected members of the Board, Weiss, Harrow and Grobstein, to
 19          manage the business affairs of the Plaintiffs during the Bankruptcy Cases, and 3)
 20          engendering fear and confusion in the minds of the Plaintiffs’ customers, creditors
 21          and other parties-in-interest regarding the Debtors viability;
 22          B)      The equities justify the issuance of an injunction in favor of the Plaintiffs.
 23          The Plaintiffs, in their capacity as the debtors-in-possession, are fiduciaries. Their
 24          legal task is to maximize the recovery to creditors. Ohanessian’s objective, in
 25          contrast, is to seize control over the Plaintiffs to enrich himself and his family
 26          members; and
 27          C)      Injunctive relief is in the public interest. Granting junctive relief in this case
 28          in the public interest for the following reasons: Ohanessian’s attempt to regain
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  1           control of the Plaintiffs in breach of the Letter Agreement places the Bankruptcy
  2           Cases at the rights of all creditors.
  3                                          FIRST CLAIM FOR RELIEF
  4           37.     The Plaintiffs hereby restate and reallege the allegations in paragraph 1 through 36
  5   in support of this claim for relief.
  6           38.     The Letter Agreement is a binding contract between the Plaintiffs and Ohanessian.
  7           39.     The Plaintiffs fully performed their obligations under the terms of the Letter
  8   Agreement.
  9           40.     Ohanessian breached the terms of the Letter Agreement by calling, noticing and
 10   attending the Special Meeting, purporting to remove Daniel W. Harrow from the Board at the
 11   Special Meeting, purporting to appoint himself, Shoushana Ohanessian and Gregori Sedrakyan to
 12   the Board at the Special Meeting, and by filing the RFS.
 13           41.     The Plaintiffs have suffered damages on account of Ohanessian’s breach of the
 14   terms of the Letter Agreement. These damages include A) the attorneys fees and costs the
 15   Plaintiffs were required to expend opposing Ohanessian’s effort to regain control of the Plaintiffs;
 16   B) Ohanessian’s interference with the Plaintiffs’ management has raised doubts in the minds of
 17   creditors regarding the Plaintiffs’ ability to proceed with a plan of reorganization in this case; and
 18   C) Ohanessian’s action have imperiled the Plaintiffs’ ability to continue to use the Hillair’s cash
 19   collateral.
 20                                     SECOND CLAIM FOR RELIEF
 21           42.     The Plaintiffs hereby restate and reallege the allegations in paragraph 1 through 36
 22   in support of this claim for relief.
 23           43.     A dispute exists between the Plaintiffs and the Defendants over A) whether the
 24   Special Meeting was validly called, noticed and held, B) whether any of the actions taken at the
 25   Special Meeting are valid and enforceable, C) whether Daniel W. Harrow was removed from the
 26   Board; and D) whether Ohanessian, Shoushana Ohanessian and Sedrakyan were validly appointed
 27   to the Board.
 28           44.     To resolve the foregoing disputes, the Plaintiffs seek a judgment declaring and
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  1   stating that:
  2                      A) The Special Meeting was not properly called;
  3                      B) The Special Meeting was not properly noticed;
  4                      C) All actions taken at the Special Meeting are void;
  5                      D) Daniel W. Harrow was not validly removed from the Board by the
  6                      vote taken at the Special Meeting;
  7                      E) Ohanesian, Shoushana Ohanessian and Sedrakyan are not members
  8                      of the Board; and
  9                      F) The Board is limited to Daniel W. Harrow, Brian Weiss and Howard
 10                      Grobstein.
 11                                          PRAYERS FOR RELIEF
 12            WHEREFORE, the Plaintiffs pray for judgment as follows:
 13                                          First Claim For Relief
 14            A judgment against Ohanessian for breach of the terms of the Letter Agreement in the
 15   amount of all damages caused by this breach, and for the issuance of a preliminary injunction
 16   barring Ohanessian, and anyone acting under his control or in concert with him, from interfering
 17   with, or having any further involvement in the management of the Plaintiffs during the Bankruptcy
 18   Cases.
 19                                          Second Claim For Relief
 20                      A) A judgment declaring and stating The Special Meeting was not
 21                          properly called;
 22                      B) The Special Meeting was not properly noticed;
 23                      C) All actions taken at the Special Meeting are void;
 24                      D) Daniel W. Harrow was not validly removed from the Board by the
 25                      vote taken at the Special Meeting;
 26                      E) Ohanesian, Shoushana Ohanessian and Sedrakyan are not members
 27                      of the Board; and
 28

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  1                      F) The Board is limited to Daniel W. Harrow, Brian Weiss and Howard
  2                      Grobstein.
  3                                           All Claims for Relief
  4          For an award of all fees and costs incurred by the Plaintiffs in the pursuit of the claims in this
  5   adversary proceeding and for such further relief as the Court deems just and proper.
  6
      DATED: January 28, 2020                                OKEEFE & ASSOCIATES
  7                                                          LAW CORPORATION, PC

  8                                                                    /s/ Sean A. O’Keefe
                                                            By: _________________________
  9                                                                  Sean A. O’Keefe
                                                            Special Litigation Counsel to Scoobeez
 10                                                  Global, Inc., and Scoobeez, Inc., the plaintiffs
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                                 EXHIBIT A




                                   000009
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            WRITTEN CONSENT OF THE MAJORITY SHAREHOLDER OF
                         SCOOBEEZ GLOBAL, INC.

       The undersigned, as the record owner of 150,000,000 shares of common stock and
18,400,000 shares of Series A preferred stock, representing approximately 92% of the
outstanding shares entitled to vote of SCOOBEEZ GLOBAL, INC., an Idaho corporation, does
hereby consent by this writing to the adoption of the following resolutions:

AMENDMENT OF THE BY-LAWS

       ​RESOLVED, that Article III, Section 2 of the By-Laws of Scoobeez Global, Inc. is
deleted in its entirety and replaced with the following:

       ​       ​SECTION 2 NUMBER, TENURE, AND QUALIFICATIONS
                The number of Directors of the corporation must be at least one but not more than
                five. Each director will hold office until the next annual meeting of shareholders
                and until the Director’s successor has been elected and qualified.

REMOVAL OF DIRECTORS

       RESOLVED, that the following named persons are hereby removed from the Board of
Directors:

               Shahan Ohanessian
               Shoushana Ohanessian
               Jowita Chomentowska
               Lance Brinker
               Richard Dolan

       ​RESOLVED FURTHER, that concurrently with the resignation of Shahan Ohanessian
from the Board of Directors, he executed a Letter Agreement re: Limitation on Shareholder
Authority During the Pendency of Chapter 11 Bankruptcy, which is adopted by the Board of
Directors and may be executed on behalf of the company by any of its officers; the officers of the
company may take any other action necessary to effectuate the foregoing.

ELECTION OF DIRECTORS

        RESOLVED, that the following named persons are hereby elected to serve as the
directors of the corporation to hold office until the next annual meeting of shareholders or until
their successors are duly elected:

               Brian Weiss
               Daniel W. Harrow

        The undersigned hereby consents to the foregoing resolutions and direct that this Written
Consent be filed with the minutes of the proceedings of the shareholders of this corporation and
that pursuant the relevant Idaho statutes and the Bylaws of this corporation, said resolutions shall
have the same force and effect as if they were adopted at a meeting at which the undersigned
were personally present.

       IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of this
___ day of June 2019.                000010
  Case
5___ day2:20-ap-01017-WB
        of June 2019.            Doc 41 Filed 02/21/20
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       ​      ​      ​      ​        ​     ​      ​     ​       ​     ​     ​   ​    ​
       ​      ​      ​      ​        ​     ​      ​     ​ Shahan Ohanessian

SHARES HELD:
Common: 150,000,000
Series A Preferred: 18,400,000
2




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                                EXHIBIT “B”




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                                EXHIBIT “C”




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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500
        Email: amcdow@foley.com
    5          jsimon@foley.com
               smoses@foley.com
    6

    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9                               UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
  10
                                          LOS ANGELES DIVISION
  11

  12
            In re:                                            Case No. 2:19-bk-14989-WB
  13        SCOOBEEZ, et al. 1                                Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14                Debtors and Debtors in Possession.
                                                              Chapter 11
  15

  16        Affects:
            ■ All Debtors                                     THIRD STIPULATION REGARDING
  17        □ Scoobeez, ONLY                                  CONTINUED USE OF CASH
                                                              COLLATERAL
            □ Scoobeez Global, Inc., ONLY
  18        □ Scoobur LLC, ONLY
  19

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        1
  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1 TO THE HONORABLE JULIA W. BRAND, UNITED STATES BANKRUPTCY JUDGE; THE
      OFFICE OF THE UNITED STATES TRUSTEE; HILLAIR CAPITAL MANAGEMENT, LLC;
    2 THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS; AND ALL INTERESTED
      PARTIES AND/OR THEIR COUNSEL OF RECORD:
    3

    4              Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors in possession

    5   (collectively the “Debtors”) in the above-captioned jointly administered chapter 11 bankruptcy cases

    6   (the “Chapter 11 Cases”), the Official Committee of Unsecured Creditors (the “Committee”) and Hillair

    7   Capital Management LLC and Hillair Capital Advisors LLC, the general partner of Hillair Capital

    8   Investments LP (collectively, “Hillair”), enter into this stipulation (the “Third Stipulation”) regarding

    9   continued use of cash collateral as follows:
                                                         RECITALS
  10
                   A.     On May 1, 2019, the Debtors filed the Debtors’ Emergency Motion for Entry of Interim
  11
        Order Authorizing Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Cash Collateral
  12
        Motion”).
  13
                   B.     The Debtors are currently using cash collateral with the consent of Hillair, and pursuant
  14
        to this Court’s prior orders approving use of cash collateral.
  15
                   C.     On June 6, 2019, the Debtors and Hillair entered into the Second Stipulation for (1)
  16
        Authorization to Use Cash Collateral; and (2) Appointment of Chief Restructuring Officer [Docket No.
  17
        132] (the “Second Stipulation”) [Docket. No. 132], which was approved by the Court’s order entered on
  18
        June 7, 2019 [Docket No. 135]. The Second Stipulation provided for continued use of cash collateral
  19
        through June 28, 2019, subject to the terms and conditions provided therein.
  20
                   D.     On July 3, 2019, the Court entered the agreed Order Granting Continued Use of Cash
  21
        Collateral Pursuant to That Certain Second Stipulation for (1) Authorization to Use Cash Collateral; and
  22
        (2) Appointment of Chief Restructuring Officer [Docket No. 172], extending the Debtors’ use of cash
  23
        collateral through September 6, 2019.
  24
                   E.     On September 19, 2019, the Court entered the agreed Order Granting Continued Use of
  25
        Cash Collateral Through December 6, 2019 Pursuant to That Certain Second Stipulation for (1)
  26
        Authorization to Use Cash Collateral; and (2) Appointment of Chief Restructuring Officer [Docket No.
  27
        328] (the “Continued Order”). The Continued Order extended the Debtors’ authorization for use of
  28
                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
                                                           -1-                        Case No. 2:19-bk-14989-WB
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    1   cash collateral through December 6, 2019, subject to the terms of the Second Stipulation as modified by
    2 the Continued Order, and pursuant to the budget attached to the Continued Order. The Continued Order

    3 also set a continued hearing on the Cash Collateral Motion for December 5, 2019 at 10:00 a.m. (the

    4 “Continued Hearing”). The period covered by the current budget attached to the Continued Order is

    5   through December 6, 2019.
    6              F.     The Debtors have prepared a new 13-week budget that covers the period through March
    7   6, 2020 (the “Budget”), a copy of which is attached hereto as Exhibit A. The Budget has been approved
    8   by the Debtors’ secured creditor Hillair Capital Management LLC (“Hillair”) and the Official
    9   Committee of Unsecured Creditors (the “Committee”).
  10               G.     The Debtors, Hillair and the Committee agree to the terms of this Third Stipulation.
  11
                                                        STIPULATION
  12

  13
             1. The Debtors, Hillair and the Committee agree to the continued use of cash collateral, pursuant to
  14
                   the terms of the Second Stipulation, subject to the new Budget, through March 6, 2020.
  15
                   Specifically, the budget approved pursuant to the Continued Order is superseded by the Budget
  16
                   attached hereto, and the “Termination Date” as defined in paragraph 14.1(a) in the Second
  17
                   Stipulation is modified to March 6, 2020.
  18
             2. Paragraph 12.1 of the Second Stipulation is hereby modified to add the following events of
  19
                   default:
  20
                          (k)     The composition of the Board of Directors of any of the Debtors is altered or any
  21
                   previous action to alter the composition of any such Board is determined to be valid such that
  22
                   Messrs. Weiss, Grobstein and Harrow no longer serve as the sole Directors of the Debtors.
  23
                          (l)     The Debtors’ agreements with Amazon are terminated or Amazon is given relief
  24
                   from the automatic stay to effectuate its termination rights.
  25
                          (m)     Any chapter 11 plan of reorganization or liquidation is filed by the Debtors or any
  26
                   other third-party and Hillair does not consent to such plan.
  27

  28
                                                                                       DEBTORS’ THIRD STIPULATION
                                                                      REGARDING CONTINUED USE OF CASH COLLATERAL
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    1        3. Except as provided for herein and in the Stipulation Further Extending Deadline For Official
    2              Committee Of Unsecured Creditors To Challenge Claim And Lien Of Hillair Capital
    3              Management, LLC [Docket. No. 439], the terms of the Second Stipulation remain in full force
    4              and effect.
    5        4. The Debtors, Hillair and the Committee request entry of the order approving this Third
    6              Stipulation in the form attached hereto as Exhibit B.
    7

    8   DATED: December 3, 2019                           FOR THE DEBTORS:

    9

  10
                                                          /s/ Ashley M. McDow
  11                                                      Ashley M. McDow
  12                                                      Ashley M. McDow (245114)
                                                          John A. Simon (admitted Pro Hac Vice)
  13                                                      Shane J. Moses (250533)
                                                          FOLEY & LARDNER LLP
  14
                                                          Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
  15                                                      GLOBAL, INC., and SCOOBUR, LLC
  16

  17                                                       FOR THE OFFICIAL COMMITTEE OF
                                                           UNSECURED CREDITORS:
  18

  19
                                                           David L. Neale
  20                                                       John-Patrick M. Fritz
                                                           LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.,
  21
                                                           Attorneys for the Committee
  22

  23

  24

  25

  26

  27

  28
                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
                                                           -3-                      Case No. 2:19-bk-14989-WB
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    1        3. Except as provided for herein and in the Stipulation Further Extending Deadline For Official
    2              Committee Of Unsecured Creditors To Challenge Claim And Lien Of Hillair Capital
    3              Management, LLC [Docket. No. 439], the terms of the Second Stipulation remain in full force
    4              and effect.
    5        4. The Debtors, Hillair and the Committee request entry of the order approving this Third
    6              Stipulation in the form attached hereto as Exhibit B.
    7

    8   DATED: December 3, 2019                           FOR THE DEBTORS:

    9
  10

  11                                                      Ashley M. McDow
  12                                                      Ashley M. McDow (245114)
                                                          John A. Simon (admitted Pro Hac Vice)
  13                                                      Shane J. Moses (250533)
                                                          FOLEY & LARDNER LLP
  14
                                                          Attorneys for Debtors SCOOBEEZ, SCOOBEEZ
  15                                                      GLOBAL, INC., and SCOOBUR, LLC
  16
  17                                                       FOR THE OFFICIAL COMMITTEE OF
                                                           UNSECURED CRREDITORS:
                                                                      CREDITORS:
  18

  19
                                                           Daviid L.
                                                           David  L Neale
  20                                                       John-Patrick M. Fritz
                                                           LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.,
  21
                                                           Attorneys for the Committee
  22

  23

  24

  25

  26

  27

  28
                                                                                     DEBTORS’ THIRD STIPULATION
                                                                    REGARDING CONTINUED USE OF CASH COLLATERAL
                                                           -3-                      Case No. 2:19-bk-14989-WB
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                           Exhibit A




                                    000021
                                          Scoobeez, et al.                                    Case 2:19-bk-14989-WB                               Doc 486 Filed 12/06/19 Entered 12/06/19 17:01:03                                                       Desc
                                                 Cash Forecast through 3/6/2020                                                                    Main Document    Page 8 of 14
                                                                  Forecast Week No.                 1             2             3             4              5             6             7             8             9            10            11            12           13
                                                                                             Forecast      Forecast      Forecast      Forecast       Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast                    Percent of
                                                                        Week Ended        12/13/2019    12/20/2019    12/27/2019      1/3/2020      1/10/2020     1/17/2020     1/24/2020     1/31/2020      2/7/2020     2/14/2020     2/21/2020     2/28/2020      3/6/2020    Total Forecast   Collections
                                                   Invoiced                                  800,000       800,000       800,000      775,000         775,000       775,000       775,000       775,000      775,000        775,000       775,000       775,000      775,000       10,150,000
                                                   Routes
Desc




                                                 Total Invoices                              800,000      800,000       800,000       775,000        775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       10,150,000
                                                 Beginning Cash                            2,077,865     2,454,742     1,833,924     2,400,077      1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702
                                                 Collections                                 800,000      800,000       800,000       800,000        800,000       800,000       800,000       775,000       775,000       775,000       775,000       775,000       775,000       10,250,000        100.0%
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                                                 Cash Disbursements:
                                                   Fuel                                       56,000       56,000        56,000        55,000         55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000          718,000          7.0%
                                                   Payroll & Payroll Expenses                 10,000      930,000        10,000       930,000         10,000       900,000        10,000       900,000        10,000       900,000        10,000       900,000        10,000        5,530,000         54.0%
                                                   Executive Compensation                        -         32,500           -          32,500            -             -          32,500           -          32,500           -          32,500                      32,500          195,000          1.9%
                                                   Vehicle - Hertz (3)                        95,197       95,197        95,197       109,375        109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375        1,379,340         13.5%
                                                   Vehicle - Accidents/Tolls/Citations           -            750           -             750            -          37,500           -             750           -          37,500           -             750           -             78,000          0.8%
                                                   Worker's Compensation                       7,000       86,022         7,000        86,022          7,000        83,247         7,000        83,247         7,000        83,247         7,000        83,247         7,000          554,031          5.4%
                                                   Rent & Utilities                              -            -             -          20,500            -             -             -          20,500           -             -             -          20,500           -             61,500          0.6%
                                                   Insurance                                  41,276          -             -          75,227            -             -             -          75,227           -             -             -          75,227           -            266,957          2.6%
                                                   Phones & Service                           13,000          -          13,000           -           13,000           -          13,000           -          13,000                      13,000           -          13,000           91,000          0.9%
                                                   Travel                                     12,000          -             -             -           12,000           -             -             -          12,000           -             -             -          12,000           48,000          0.5%
                                                   IT Expenses                                   -         12,200           -             -            5,000           -             -          12,200           -             -           5,000           -             -             34,400          0.3%
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                                                   Dues & Subscriptions                       18,500          500           500           500            500        18,500           500           500           500           500           500           500           500           42,500          0.4%
                                                   DBB Tax Preparation Fee                       -            -             -             -              -             -             -             -             -             -             -             -             -                -            0.0%
                                                   Car Wash                                      -            -           2,000           -              -             -           2,000           -             -             -           2,000           -             -              6,000          0.1%
                                                   Other Expenses                             10,000       10,000        10,000        10,000         10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000          130,000          1.3%
                                                 Total Operating Cash Disbursements          262,973     1,223,168      193,697      1,319,874       221,875      1,213,622      239,375      1,266,799      249,375      1,195,622      244,375      1,254,599      249,375        9,134,728         89.1%
                                                 Operating Cash Flow                         537,027     (423,168)      606,303      (519,874)       578,125      (413,622)      560,625      (491,799)      525,625      (420,622)      530,625      (479,599)      525,625        1,115,272         10.9%
                                                 Financing Cash Flows




                                                                                                                                                                                                                                                                                                                000022
                                                    Debt Principal                               -            -             -             -              -             -             -             -             -             -             -             -             -                -            0.0%
                                                    Debt Interest                             40,000       40,000        40,000        40,000         40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000          520,000          5.1%
                                                    Bank Fees                                    150          150           150           150            150           150           150           150           150           150           150           150           150            1,950          0.0%
Main Document




                                                 Financing Cash Flows                         40,150       40,150        40,150        40,150         40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150          521,950          5.1%
                                                 Restructuring Cash Flows
                                                   Debtor Counsel                                -         50,000            -             -             -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
                                                   Debtor CRO                                    -         40,000            -             -             -              -         25,000            -             -             -         25,000            -            -             90,000          0.9%
                                                   Debtor Advisor                                -            -              -             -             -              -            -              -             -             -            -              -            -                -            0.0%
                                                   Board of Directors (2 Individuals)            -          5,000            -             -             -              -          5,000            -             -             -          5,000            -            -             15,000          0.1%
                                                   Secured Lender Counsel                        -         50,000            -             -             -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
                                                   Committee Counsel                             -         12,500            -             -             -              -         12,500            -             -             -         12,500            -            -             37,500          0.4%
                                                   Special Counsel (Hillair)                 100,000          -              -             -             -              -            -              -             -             -            -              -            -            100,000          1.0%
                                                   Special Counsel (Debtor)                   20,000          -              -             -             -              -            -              -             -             -            -              -            -             20,000          0.2%
                                                   US Trustee Fees                               -            -              -             -         110,510            -            -              -             -             -            -              -        102,488          212,998          2.1%
Case 2:20-ap-01017-WB




                                                 Restructuring Cash Flows                    120,000      157,500            -             -         110,510            -        142,500            -             -             -        142,500            -        102,488          775,498          7.6%
                                                 Net Total Cash Flow In / (Out)              376,877     (620,818)      566,153      (560,024)       427,465      (453,772)      377,975      (531,949)      485,475      (460,772)      347,975      (519,749)      382,987         (182,176)         -1.8%
                                                 Ending Cash Balance                       2,454,742     1,833,924     2,400,077     1,840,053      2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689
                                                 Collateral Package
                                                   Cash on Hand                             2,454,742    1,833,924     2,400,077     1,840,053      2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689
                                                   AR                                       3,180,000    3,180,000     3,180,000     3,160,000      3,140,000     3,120,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000
                                                   Loan Receivable and Uncategorized Assets 1,654,172    1,654,172     1,654,172     1,654,172      1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172
                                                   Fixed Assets                               868,687      868,687       868,687       868,687        868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687
                                                   Other Assets                                62,668       62,668        62,668        62,668         62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668
                                                 Total Collateral                          8,220,269     7,599,451     8,165,604     7,585,580      7,993,046     7,519,274     7,877,249     7,345,300     7,830,775     7,370,003     7,717,978     7,198,229     7,581,216
                                                 Estimated Outstanding Secured Loan       11,108,500    11,108,500    11,108,500    11,108,500     11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500
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                           Exhibit B




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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500
        Email: amcdow@foley.com
    5          jsimon@foley.com
               smoses@foley.com
    6

    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                             Case No. 2:19-bk-14989-WB
  13        In re:                                           Jointly Administered:
                                                             2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al. 1
                                                             Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                         ORDER GRANTING CONTINUED USE OF
  17                                                         CASH COLLATERAL THROUGH MARCH
            ■ All Debtors                                    6, 2020, PURSUANT TO THAT CERTAIN
  18                                                         THIRD STIPULATION REGARDING
            □ Scoobeez, ONLY                                 CONTINUED USE OF CASH
  19                                                         COLLATERAL
            □ Scoobeez Global, Inc., ONLY
  20        □ Scoobur LLC, ONLY
  21

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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1              Scoobeez, Inc., Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors-in-possession
    2   in the above captioned jointly administered Chapter 11 bankruptcy cases (collectively, the “Debtors”)
    3   having filed the Emergency Motion for Entry of Interim Order Authorizing Use of Cash Collateral on an
    4   Interim Basis [Docket No. 13] (the “Cash Collateral Motion”);
    5              The Debtors presently have authorization to use cash collateral on an interim basis through
    6   December 6, 2019, pursuant to the Order Granting Continued Use Of Cash Collateral Through
    7   December 6, 2019 Pursuant To That Certain Second Stipulation For (1) Authorization To Use Cash
    8   Collateral; And (2) Appointment Of Chief Restructuring Officer [Docket No. 172], entered on
    9   September 19, 2019 (the “Prior Order”), which approved continued use of cash collateral under that
  10    certain Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of Chief
  11    Restructuring Officer [Docket No. 132] (the “Second Stipulation”) entered into by and among Hillair
  12    Capital Management LLC and Hillair Capital Advisors LLC, the general partner of Hillair Capital
  13    Investments LP (collectively, “Hillair”), the Debtors, and the Official Committee of Unsecured
  14    Creditors (the “Committee”), which was approved by this Court pursuant to that certain Order
  15    Approving Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of a
  16    Chief Restructuring Officer [Docket No. 135].
  17               The Debtors seek continued use of cash collateral on an interim basis as set forth in their Third
  18    Stipulation Regarding Continued Use of Cash Collateral [Docket No. [___]] (the “Third Stipulation”).
  19    The Court having considered the Cash Collateral Motion, the Second Stipulation, the Third Stipulation,
  20    all oppositions and other supplemental papers filed with respect to the continued use of cash collateral,
  21    and good cause appearing therefor, the Court makes the following findings:
  22               A.     The Debtors, the Committee, and Hillair support the Debtors’ continued use of cash
  23    collateral on an interim basis.
  24               B.     There are no defaults under the terms of the Second Stipulation, the Prior Order, or any
  25    previous stipulation or order authorizing the Debtors’ use of cash collateral.
  26               C.     The express written consent of Hillair under Paragraph 3.4(c) of the Second Stipulation
  27    for the use of cash collateral for the payment of any insider of the Debtor or any management person or
  28    entity retained by the Debtors’ or the Debtors’ estate is as provided for in the Budget (as defined in the


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    1   Third Stipulation and as attached to this order (the “Order”)).
    2              NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
    3              1.     The Debtors’ authorization to use cash collateral on a further interim basis pursuant to the
    4   terms of the Second Stipulation is approved subject to the modifications set forth in this Order.
    5              2.     The term during which the Debtors are authorized to use cash collateral, as set forth in
    6   Paragraph 14.1(a) of the Second Stipulation, is hereby extended through March 6, 2020.
    7              3.     The Budget as defined and referenced in Paragraph 3.3(a) of the Second Stipulation and
    8   attached as Exhibit B to the Second Stipulation is hereby superseded by the budget attached hereto as
    9   Exhibit A for the period from December 7 through March 6, 2019.
  10               4.      Paragraph 12.1 of the Second Stipulation is hereby modified to add the following events
  11    of default:
  12               (k)    The composition of the Board of Directors of any of the Debtors is altered or any
  13               previous action to alter the composition of any such Board is determined to be valid such that
  14               Messrs. Weiss, Grobstein and Harrow no longer serve as the sole Directors of the Debtors.
  15               (l)    The Debtors’ agreements with Amazon are terminated or Amazon is given relief from the
  16               automatic stay to effectuate its termination rights.
  17               (m)    Any chapter 11 plan of reorganization or liquidation is filed by the Debtors or any other
  18               third-party and Hillair does not consent to such plan.
  19               5.     The hearing on the Debtors’ Emergency Motion for Entry of Interim Order Authorizing
  20    Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Motion”) shall be continued to March
  21    5, 2020, at 10:00 a.m. in the above-captioned court.
  22               6.     Supplemental briefs in support of the Motion and continued use of cash collateral shall be
  23    filed and served by no later than February 20, 2020.
  24               7.     Supplemental responses in opposition to the motion and continued use of cash collateral
  25    shall be filed and served by no later than February 27, 2020.
  26                                                          # # #
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                                             PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411

A true and correct copy of the foregoing document entitled (specify): THIRD STIPULATION REGARDING
CONTINUED USE OF CASH COLLATERAL will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On (date) December 6, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:



                                                                                   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 6, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Honorable Julia W. Brand
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012




                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.


                                                                                  Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  12/6/2019                      Karla P. Hernandez                                       /s/ Karla P. Hernandez
  Date                           Printed Name                                             Signature




      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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1.         TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
          John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
          Riebert Sterling Henderson shenderson@gibbsgiden.com
          Vivian Ho BKClaimConfirmation@ftb.ca.gov
          Alvin Mar alvin.mar@usdoj.gov
          Ashley M McDow amcdow@foley.com,
           sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
          Stacey A Miller smiller@tharpe-howell.com
          Kevin H Morse kmorse@clarkhill.com, blambert@clarkhill.com
          Shane J Moses smoses@foley.com
          Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
          Rejoy Nalkara rejoy.nalkara@americaninfosource.com
          Anthony J Napolitano anapolitano@buchalter.com,
           IFS_filing@buchalter.com;salarcon@buchalter.com
          David L. Neale dln@lnbyb.com
          Aram Ordubegian ordubegian.aram@arentfox.com
          Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com;cwilliams@raineslaw.com
          Gregory M Salvato gsalvato@salvatolawoffices.com,
           calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf.inforuptcy.com
          Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
          United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
          Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP                                                    FILED & ENTERED
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500                                                      DEC 10 2019
        Email: amcdow@foley.com
    5          jsimon@foley.com                                                 CLERK U.S. BANKRUPTCY COURT
               smoses@foley.com                                                 Central District of California
    6                                                                           BY tatum      DEPUTY CLERK


    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                              Case No. 2:19-bk-14989-WB
  13        In re:                                            Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                              Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                          ORDER GRANTING CONTINUED USE OF
  17                                                          CASH COLLATERAL THROUGH MARCH
            ■ All Debtors                                     6, 2020, PURSUANT TO THAT CERTAIN
  18                                                          THIRD STIPULATION REGARDING
            □ Scoobeez, ONLY                                  CONTINUED USE OF CASH
  19                                                          COLLATERAL
            □ Scoobeez Global, Inc., ONLY
  20        □ Scoobur LLC, ONLY
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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1              Scoobeez, Inc., Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors-in-possession
    2   in the above captioned jointly administered Chapter 11 bankruptcy cases (collectively, the “Debtors”)
    3   having filed the Emergency Motion for Entry of Interim Order Authorizing Use of Cash Collateral on an
    4   Interim Basis [Docket No. 13] (the “Cash Collateral Motion”);
    5              The Debtors presently have authorization to use cash collateral on an interim basis through
    6   December 6, 2019, pursuant to the Order Granting Continued Use Of Cash Collateral Through
    7   December 6, 2019 Pursuant To That Certain Second Stipulation For (1) Authorization To Use Cash
    8   Collateral; And (2) Appointment Of Chief Restructuring Officer [Docket No. 172], entered on
    9   September 19, 2019 (the “Prior Order”), which approved continued use of cash collateral under that
  10    certain Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of Chief
  11    Restructuring Officer [Docket No. 132] (the “Second Stipulation”) entered into by and among Hillair
  12    Capital Management LLC and Hillair Capital Advisors LLC, the general partner of Hillair Capital
  13    Investments LP (collectively, “Hillair”), the Debtors, and the Official Committee of Unsecured
  14    Creditors (the “Committee”), which was approved by this Court pursuant to that certain Order
  15    Approving Second Stipulation for (1) Authorization to Use Cash Collateral; and (2) Appointment of a
  16    Chief Restructuring Officer [Docket No. 135].
  17               The Debtors seek continued use of cash collateral on an interim basis as set forth in their Third
  18    Stipulation Regarding Continued Use of Cash Collateral [Docket No. [486]] (the “Third Stipulation”).
  19    The Court having considered the Cash Collateral Motion, the Second Stipulation, the Third Stipulation,
  20    all oppositions and other supplemental papers filed with respect to the continued use of cash collateral,
  21    and good cause appearing therefor, the Court makes the following findings:
  22               A.     The Debtors, the Committee, and Hillair support the Debtors’ continued use of cash
  23    collateral on an interim basis.
  24               B.     There are no defaults under the terms of the Second Stipulation, the Prior Order, or any
  25    previous stipulation or order authorizing the Debtors’ use of cash collateral.
  26               C.     The express written consent of Hillair under Paragraph 3.4(c) of the Second Stipulation
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  28    entity retained by the Debtors’ or the Debtors’ estate is as provided for in the Budget (as defined in the

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    1   Third Stipulation and as attached to this order (the “Order”)).
    2              NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
    3              1.     The Debtors’ authorization to use cash collateral on a further interim basis pursuant to the
    4   terms of the Second Stipulation is approved subject to the modifications set forth in this Order.
    5              2.     The term during which the Debtors are authorized to use cash collateral, as set forth in
    6   Paragraph 14.1(a) of the Second Stipulation, is hereby extended through March 6, 2020.
    7              3.     The Budget as defined and referenced in Paragraph 3.3(a) of the Second Stipulation and
    8   attached as Exhibit B to the Second Stipulation is hereby superseded by the budget attached hereto as
    9   Exhibit A for the period from December 7 through March 6, 2019.
  10               4.      Paragraph 12.1 of the Second Stipulation is hereby modified to add the following events
  11    of default:
  12               (k)    The composition of the Board of Directors of any of the Debtors is altered or any
  13               previous action to alter the composition of any such Board is determined to be valid such that
  14               Messrs. Weiss, Grobstein and Harrow no longer serve as the sole Directors of the Debtors.
  15               (l)    The Debtors’ agreements with Amazon are terminated or Amazon is given relief from the
  16               automatic stay to effectuate its termination rights.
  17               (m)    Any chapter 11 plan of reorganization or liquidation is filed by the Debtors or any other
  18               third-party and Hillair does not consent to such plan.
  19               5.     The hearing on the Debtors’ Emergency Motion for Entry of Interim Order Authorizing
  20    Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Motion”) shall be continued to March
  21    5, 2020, at 10:00 a.m. in the above-captioned court.
  22               6.     Supplemental briefs in support of the Motion and continued use of cash collateral shall be
  23    filed and served by no later than February 20, 2020.
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                                                                   ORDER FOR CONTINUED USE OF CASH COLLATERAL
                                                             -2-                      Case No. 2:19-bk-14989-WB
4831-9136-2734.2                                         000032
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    1              7.   Supplemental responses in opposition to the motion and continued use of cash collateral
    2   shall be filed and served by no later than February 27, 2020.
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  24           Date: December 10, 2019

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                                                              ORDER FOR CONTINUED USE OF CASH COLLATERAL
                                                        -3-                       Case No. 2:19-bk-14989-WB
4831-9136-2734.2                                     000033
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Cash Forecast through 3/6/2020

                   Forecast Week No.               1             2             3             4             5             6             7             8             9            10            11            12           13
                                            Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast      Forecast                    Percent of
                        Week Ended       12/13/2019    12/20/2019    12/27/2019      1/3/2020     1/10/2020     1/17/2020     1/24/2020     1/31/2020      2/7/2020     2/14/2020     2/21/2020     2/28/2020      3/6/2020    Total Forecast   Collections
   Invoiced                                 800,000       800,000       800,000      775,000        775,000       775,000       775,000       775,000      775,000        775,000       775,000       775,000      775,000       10,150,000
   Routes
Total Invoices                              800,000      800,000       800,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       775,000       10,150,000

Beginning Cash                            2,077,865     2,454,742     1,833,924     2,400,077     1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702

Collections                                 800,000      800,000       800,000       800,000       800,000       800,000       800,000       775,000       775,000       775,000       775,000       775,000       775,000       10,250,000        100.0%

Cash Disbursements:
  Fuel                                       56,000       56,000        56,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000        55,000          718,000          7.0%
  Payroll & Payroll Expenses                 10,000      930,000        10,000       930,000        10,000       900,000        10,000       900,000        10,000       900,000        10,000       900,000        10,000        5,530,000         54.0%
  Executive Compensation                        -         32,500           -          32,500           -             -          32,500           -          32,500           -          32,500                      32,500          195,000          1.9%
  Vehicle - Hertz (3)                        95,197       95,197        95,197       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375       109,375        1,379,340         13.5%
  Vehicle - Accidents/Tolls/Citations           -            750           -             750           -          37,500           -             750           -          37,500           -             750           -             78,000          0.8%
  Worker's Compensation                       7,000       86,022         7,000        86,022         7,000        83,247         7,000        83,247         7,000        83,247         7,000        83,247         7,000          554,031          5.4%
  Rent & Utilities                              -            -             -          20,500           -             -             -          20,500           -             -             -          20,500           -             61,500          0.6%
  Insurance                                  41,276          -             -          75,227           -             -             -          75,227           -             -             -          75,227           -            266,957          2.6%
  Phones & Service                           13,000          -          13,000           -          13,000           -          13,000           -          13,000                      13,000           -          13,000           91,000          0.9%
  Travel                                     12,000          -             -             -          12,000           -             -             -          12,000           -             -             -          12,000           48,000          0.5%
  IT Expenses                                   -         12,200           -             -           5,000           -             -          12,200           -             -           5,000           -             -             34,400          0.3%
  Dues & Subscriptions                       18,500          500           500           500           500        18,500           500           500           500           500           500           500           500           42,500          0.4%
  DBB Tax Preparation Fee                       -            -             -             -             -             -             -             -             -             -             -             -             -                -            0.0%
  Car Wash                                      -            -           2,000           -             -             -           2,000           -             -             -           2,000           -             -              6,000          0.1%
  Other Expenses                             10,000       10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000        10,000          130,000          1.3%
Total Operating Cash Disbursements          262,973     1,223,168      193,697      1,319,874      221,875      1,213,622      239,375      1,266,799      249,375      1,195,622      244,375      1,254,599      249,375        9,134,728         89.1%

Operating Cash Flow                         537,027     (423,168)      606,303      (519,874)      578,125      (413,622)      560,625      (491,799)      525,625      (420,622)      530,625      (479,599)      525,625        1,115,272         10.9%

Financing Cash Flows
   Debt Principal                               -            -             -             -             -             -             -             -             -             -             -             -             -                -            0.0%
   Debt Interest                             40,000       40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000        40,000          520,000          5.1%
   Bank Fees                                    150          150           150           150           150           150           150           150           150           150           150           150           150            1,950          0.0%
Financing Cash Flows                         40,150       40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150        40,150          521,950          5.1%

Restructuring Cash Flows
  Debtor Counsel                                -         50,000            -             -            -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Debtor CRO                                    -         40,000            -             -            -              -         25,000            -             -             -         25,000            -            -             90,000          0.9%
  Debtor Advisor                                -            -              -             -            -              -            -              -             -             -            -              -            -                -            0.0%
  Board of Directors (2 Individuals)            -          5,000            -             -            -              -          5,000            -             -             -          5,000            -            -             15,000          0.1%
  Secured Lender Counsel                        -         50,000            -             -            -              -         50,000            -             -             -         50,000            -            -            150,000          1.5%
  Committee Counsel                             -         12,500            -             -            -              -         12,500            -             -             -         12,500            -            -             37,500          0.4%
  Special Counsel (Hillair)                 100,000          -              -             -            -              -            -              -             -             -            -              -            -            100,000          1.0%
  Special Counsel (Debtor)                   20,000          -              -             -            -              -            -              -             -             -            -              -            -             20,000          0.2%
  US Trustee Fees                               -            -              -             -        110,510            -            -              -             -             -            -              -        102,488          212,998          2.1%
Restructuring Cash Flows                    120,000      157,500            -             -        110,510            -        142,500            -             -             -        142,500            -        102,488          775,498          7.6%

Net Total Cash Flow In / (Out)              376,877     (620,818)      566,153      (560,024)      427,465      (453,772)      377,975      (531,949)      485,475      (460,772)      347,975      (519,749)      382,987         (182,176)         -1.8%

Ending Cash Balance                       2,454,742     1,833,924     2,400,077     1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689


Collateral Package
  Cash on Hand                             2,454,742    1,833,924     2,400,077     1,840,053     2,267,519     1,813,747     2,191,722     1,659,773     2,145,248     1,684,476     2,032,451     1,512,702     1,895,689
  AR                                       3,180,000    3,180,000     3,180,000     3,160,000     3,140,000     3,120,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000     3,100,000
  Loan Receivable and Uncategorized Assets 1,654,172    1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172     1,654,172
  Fixed Assets                               868,687      868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687       868,687
  Other Assets                                62,668       62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668        62,668
Total Collateral                          8,220,269     7,599,451     8,165,604     7,585,580     7,993,046     7,519,274     7,877,249     7,345,300     7,830,775     7,370,003     7,717,978     7,198,229     7,581,216
Estimated Outstanding Secured Loan       11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500    11,108,500




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                                                                    CLERK U.S. BANKRUPTCY COURT
                                                                    Central District of California
  6                                                                 BY egarcia DEPUTY CLERK


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  8                           UNITED STATES BANKRUPTCY COURT

  9                            CENTRAL DISTRICT OF CALIFORNIA

 10                                   LOS ANGELES DIVISION

 11   In re                                            Lead Case No. 2:19-bk-14989-WB
 12   SCOOBEEZ, INC., a California                     Chapter 11
      corporation, et al.
 13                                                    Jointly administered with Case Nos. 2:19-bk-
                        Debtors and Debtors in         14991-WB and 2:19-bk-14997-WB)
 14                     Possession.
                                                       ORDER APPROVING SECOND
 15                                                    STIPULATION FOR
                                                       (1) AUTHORIZATION TO USE
 16   Affects:                                         CASH COLLATERAL; AND
                                                       (2) APPOINTMENT OF CHIEF
 17           All Debtors                              RESTRUCTURING OFFICER
 18           SCOOBEEZ, INC., only                     Hearing:
              SCOOBEEZ GLOBAL, INC. only               Date:           June 6, 2019
 19
                                                       Time:           10:00 a.m.
 20           SCOOBUR, LLC only                        Place:          U.S. Bankruptcy Court
                                                                       Courtroom 1375
 21                                                                    255 East Temple Street
                                                                       Los Angeles, CA 90012
 22                                                    Judge:          Hon. Julia W. Brand
 23

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  1           Having reviewed the Second Stipulation for (1) Authorization to Use Cash Collateral; and
  2   (2) Appointment of Chief Restructuring Officer [Docket No. 132] (the “Stipulation”) entered into
  3   by and between Hillair Capital Management LLC and Hillair Capital Advisors LLC, the general
  4   partner of Hillair Capital Investments LP (collectively, “Hillair”), Scoobeez, Inc., a California
  5   corporation, debtor in the above-captioned chapter 11 bankruptcy case (“Scoobeez”), and its
  6   affiliated debtors, Scoobeez Global, Inc., an Idaho corporation (formerly known as ABT
  7   Holdings, Inc.) (“Scoobeez Global”) and Scoobur, LLC, a California limited liability company
  8   (“Scoobur”) (collectively, the “Debtors”), and the Official Committee of Unsecured Creditors
  9   (the “Committee”), and good cause appearing therefor:
 10           IT IS HEREBY ORDERED THAT:
 11           1.      The Stipulation is approved.
 12           2.      The hearing on the Debtors’ Emergency Motion for Entry of Interim Order
 13   Authorizing Use of Cash Collateral on an Interim Basis [Docket No. 13] (the “Motion”) shall be
 14   continued to June 27, 2019 at 10:00 a.m. 2:00 p.m. in the above-captioned court.
 15           3.      Supplemental briefs in support of the Motion and continued use of cash collateral
 16   shall be filed and served by no later than June 20, 2019.
 17           4.      Supplemental responses in opposition to the motion and continued use of cash
 18   collateral shall be filed and served by no later than June 25, 2019.
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 24 Date: June 7, 2019

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                                      MAILING LIST
  1
  2       Shahan Ohanessian
          1328 Doverwood Dr
  3       Glendale, CA 91207

  4       Shoushana Ohanessian
          1328 Doverwood Drive
  5
          Glendale, CA 91207-1147
  6
          Gregori Sedrakyan
  7       1127 Sonora Av
          Glendale, CA 91201-1908
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